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September 27, 2024

VIA ECF

The Honorable Lewis A. Kaplan
United States District Judge
Southern District of New York
United States Courthouse Room 21B
500 Pearl St,

New York, NY 10007

Re: Elizabeth Stachovic, et al. v. Pig Newton, Inc., Case No, 1:24-cvy-6589
Dear Judge Kaplan:

We represent defendant Pig Newton, Inc. (“Defendant”) in the above-referenced putative
class action pending before this Court. The purpose of this letter motion is to request that the
Court approve the parties’ joint request for an extension of time for (1) Defendant to respond to
Plaintiff's Class Action Complaint (the “Complaint’”’) and (2) Plaintiff to file her response to any
motion to dismiss. In support thereof, the parties state as follows:

In the Complaint, Plaintiff alleges that Defendant installed tracking technology,
specifically a programming code referred to as the “Meta Pixel,” on Defendant’s website,
louisck.com (the ‘Website”). Plaintiff further alleges that the Meta Pixel collected and
transmitted to Meta (f/k/a Facebook) the private viewing information and other personal
information of consumers who purchased prerecorded video materials on the Website. Based on
these allegations, Plaintiff alleges that Defendant violated the Video Privacy Protection Act, 18
U.S.C. § 2710 (“VPPA”).

Plaintiff filed her Complaint on September 3, 2024, and Defendant was served with a
copy of the summons and Complaint on September 10, 2024. By rule, Defendant’s responsive
pleading currently is due October 1, 2024.

Counsel for Defendant was retained within the last day and needs additional time to
analyze and prepare a response to the Complaint. Due to the technical complexity of this matter
and Plaintiff's allegations, the parties request an extension of forty-five (45) days, up to and
including November 15, 2024, for Defendant to file its responsive pleading. This is Defendant’s
first request for an extension of time to respond to the Complaint. This extension is not sought for
delay or for any other improper purpose, and no party wil! be prejudiced by the granting of it.

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Additionally, in the event Defendant files a motion to dismiss the Complaint, the parties
request an extension of thirty (30) days, up to and including December 16, 2024, for Plaintiff to
file her response thereto.

Accordingly, the parties respectfully requests that this Court enter an order: (1) granting
this ietter motion in its entirety; (2) allowing Defendant an additional 45 days, up to and
including November 15, 2024, to file its response to the Complaint; and (3) allowing Plaintiff 30
days, up to and including December 15, 2024, to file her response to any motion to dismiss,

Thank you for your time and consideration of this request. We will await further word
from the Court.

Very truly yours,

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R. David Lane, Esq.

Granved

SO ORDERED

if
LEWIS A. KAPLAN, USDJ

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